                     EXHIBIT A
Case 2-22-02001-PRW, Doc 1-1, Filed 02/03/22, Entered 02/03/22 11:15:51,
                    Description: Exhibit A, Page 1 of 9
United States Bankruptcy Court for the Western District of New York

                                                                                                     For Court Use Only
 Name of Debtor: Rochester Drug Co-Operative, Inc.                                                   Claim Number:        0000022288

 Case Number:          20-20230                                                                      File Date:           07/31/2020 14:24:05



Proof of Claim (Official Form 410)
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of 503(b)(9),
 do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                                                                                                                                                              04/19




Part 1:      Identify the Claim

1. Who is the current creditor?                                                 Abbvie US LLC
Name of the current creditor (the person or entity to be paid for this claim): _______________________________________________________________________

Other names the creditor used with the debtor: _______________________________________________________________________________________________


2.      Has this claim been acquired from someone else?    □✔ No □ Yes.      From whom? ___________________________________________________________



3.      Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)
Where should notices to the creditor be sent?                                     Where should payments to the creditor be sent? (if different)

Name          Abbvie US LLC
             ________________________________________________________              Name        ________________________________________________________

Address        Attn: Kohner, Mann & Kailas, S.C.
              _______________________________________________________              Address     _______________________________________________________
               4650 N. Port Washington Road
              _______________________________________________________                          _______________________________________________________

              _______________________________________________________                          _______________________________________________________
              Milwaukee
City          _______________________________________________________              City        _______________________________________________________
               WI                                   53212
State         ______________________      ZIP Code _______________________         State       ______________________        ZIP Code _______________________

Country (if International): __________________________________________             Country (if International): __________________________________________
              4149625110
Phone:       _______________________________________________________               Phone:     _______________________________________________________
              kmksc@kmksc.com
Email:       _______________________________________________________               Email:     _______________________________________________________


4. Does this claim amend one already filed?                                        5. Do you know if anyone else has filed a proof of claim for this claim?
□✔ No                                                                              □✔ No
□ Yes.                                                                             □ Yes.
     Claim number on court claims register (if known) _____________________           Who made the earlier filing?

     Filed on ______________________________________________________                  _____________________________________________________________
                               MM / DD / YYYY
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Part 2:     Give Information About the Claim as of the Date the Case Was Filed
 6. Do you have any number you use to                                                                   8. What is the basis of the claim?
                                                7. How much is the claim?
    identify the debtor?                           1,539,906.31
                                                $_______________________________________
□
✔ No
                                                                                                       Examples: Goods sold, money loaned, lease, services performed,
                                                                                                       personal injury or wrongful death, or credit card. Attach redacted
□ Yes.                                          Does this amount include interest or other             copies of any documents supporting the claim required by Bankruptcy
Last 4 digits of the debtor’s account or any                                                           Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                charges?
number you use to identify the debtor:                                                                 such as health care information.

     ____ ____ ____ ___
                                                □✔ No
                                                □ Yes.   Attach statement itemizing interest, fees,
                                                                                                        Goods Sold/Services (Trade Claim)
                                                                                                       _________________________________________________________
                                                         expenses, or other charges required by
                                                         Bankruptcy Rule 3001(c)(2)(A).

9. Is all or part of the claim secured?                                 10. Is this claim based on a lease?         11. Is this claim subject to a right of setoff?
□ No                                                                    □
                                                                        ✔ No                                        □ No
□
✔ Yes.    The claim is secured by a lien on property.
                                                                        □ Yes. Amount necessary to cure             □
                                                                                                                    ✔ Yes. Identify the property:
                                                                        any default as of the date of petition.
Nature of property:                                                                                                   Credits/Rebates
□ Real estate. If the claim is secured by the debtor’s principal        $_____________________________               ___________________________________________

residence, file a Mortgage Proof of Claim Attachment (official Form
410-A) with this Proof of Claim.
□ Motor vehicle                                                         12. Is all or part of the claim entitled to priority             A claim may be partly priority and
                                                                            under 11 U.S.C. § 507(a)?                                    partly nonpriority. For example, in
□
✔ Other. Describe:      Possession/Setoff/Recoupment rights
                        ____________________________________            □
                                                                        ✔ No
                                                                                                                                         some categories, the law limits the
                                                                                                                                         amount entitled to priority.
Basis
i     for perfection:                                                   □ Yes. Check one:                                                Amount entitled to priority
                          Possession
                          _____________________________________
Attach redacted copies of documents, if any, that show evidence of
                                                                        □   Domestic support obligations (including alimony and          $_____________________
perfection of security interest (for example, a mortgage, lien,         child support) under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
certificate of title, financing statement, or other document that       □ Up to $3,025* of deposits toward purchase, lease, or           $_____________________
shows the lien has been filed or recorded.)                             rental of property or services for personal, family, or
                                               243,299.71
 Value of property:                          $_____________________     household use. 11 U.S.C. § 507(a)(7).

Amount of the claim that is secured:
                                            243,299.71
                                          $_____________________
                                                                        □ Wages, salaries, or commissions (up to $13,650*)               $_____________________
                                                                        earned within 180 days before the bankruptcy petition is
                                         1,296,606.60                   filed or the debtor’s business ends, whichever is earlier.
Amount of the claim that is unsecured: $_____________________
(The sum of the secured and unsecured amounts should match the          11 U.S.C. § 507(a)(4).                                           $_____________________
amount in line 7.)                                                      □ Taxes or penalties owed to governmental units.
                                                                        11 U.S.C. § 507(a)(8).
Amount necessary to cure any                                                                                                             $_____________________
                                         1,539,906.31
default as of the date of the petition: $_____________________          □ Contributions to an employee benefit plan. 11 U.S.C. §
                                                                        507(a)(5).
Annual Interest Rate (when case was filed)       ______________%                                                                         $_____________________
                                                                        □ Other. Specify subsection of 11 U.S.C. § 507 (a)
                                               □ Fixed □ Variable       (___________) that applies.
                                                                        * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on
                                                                        or after the date of adjustment.


13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?
□
✔ No
□ Yes. Amount that qualifies as an Administrative Expense under 11 U.S.C. § 503(b)(9): $_____________________________




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Part 3:    Sign Below
The person completing       Check the appropriate box:
this proof of claim must    □ I am the creditor.
sign and date it. FRBP
9011(b).
                            □
                            ✔ I am the creditor’s attorney or authorized agent.
                            □ I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim      □ I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
electronically, FRBP
5005(a)(2) authorizes       I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local   the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a     I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
signature is.
                            I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could         Charles Fiergola                                                               07/31/2020 14:24:05
                             _____________________________________
                            ____________________________________________________________                     __________________________________
be fined up to $500,000,
                            Signature                                                                       Date
imprisoned for up to 5
years, or both. 18 U.S.C.   Provide the name and contact information of the person completing and signing this claim:
§§ 152, 157, and 3571.
                                      Charles Fiergola
                            Name      ______________________________________________________________________________________________
                                    Kohner, Mann & Kailas, S.C.
                            Address _____________________________________________________________________________________________
                                      4650 N. Port Washington Road
                                      _____________________________________________________________________________________________

                                      _____________________________________________________________________________________________
                                      Milwaukee
                            City      _____________________________________________________________________________________________
                                      WI                                                    53212
                            State     ________________________________________________ Zip _________________________________________

                            Country (in international) _______________________________________________________________________________
                                      4149625110
                            Phone     _____________________________________________________________________________________________
                                       cfiergola@kmksc.com
                            Email     _____________________________________________________________________________________________




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                                           EXHIBIT A
                                         To Proof of Claim
                                                of
                                          Abbvie US LLC

                            In re Rochester Drug Co-Operative, Inc.
                                       Case No. 20-20230

The claim set forth in the proof of claim in the amount of $1,539,906.31 may be amended and
supplemented as additional information and documentation are compiled by creditor. Creditor
reserves its right to amend its proof of claim to change the amount, type and priority of the claims
set forth and to supplement the documentation provided in support of the claim.

Creditor supplies pharmaceutical and biologic products to the debtor, with amounts outstanding as
indicated on the spreadsheet attached hereto. Said spreadsheet includes some invoices and credits
dated after the petition date, but all of which relate to pre-petition sales. There is a Distribution
Agreement, dated February 1, 2018, (as amended, the “Distribution Agreement”), which governs
goods and services provided by the Creditor to Debtor. Creditor reserves the right to pursue any
and all non-debtors, including any guarantors, for all amounts asserted herein.

Creditor’s secured claim in the amount of not less than $243,299.71 represents credit memo/rebate
amounts potentially owed to Debtor under the Distribution Agreement. All of these amounts
constitute security for Creditor’s claim under Sections 506 and 553 of the Bankruptcy Code
because they are subject to Creditor’s general rights of setoff and recoupment against the debtor
based on the amounts owed between debtor and Creditor. Creditor specifically reserves the right
to assert its rights of recoupment and does not waive the same by asserting setoff rights herein. In
addition, Creditor reserves the right to assert setoff and recoupment rights with regard to any credit
memos, refunds or rebates that might be earned after the Petition Date, and any other credit memos
or rebates for the pre-Petition Date or post-petition periods that have not yet been calculated.

The documents supporting this claim are voluminous and include the Distribution Agreement,
invoices, service orders and other documents. Due to the confidential pricing information
contained in the Distribution Agreement and the invoices, neither the Distribution Agreement nor
any invoices are attached, but will be provided upon request, subject to appropriate confidentiality
restrictions. Based on the foregoing, only this summary and the statement of account are attached
to this claim at this time.

A request for additional documents from creditor to supplement this claim should be sent in writing
to:

       Charles M. Fiergola, Esq.
       Kohner, Mann & Kailas, S.C.
       4650 North Port Washington Road
       Milwaukee, WI 53212-1059
       (414) 962-5110
       (414) 962-8725 (fax)




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                                            Abbvie US LLC
                        Rochester Drug Co-Operative, Inc. - Statement of Account
Reference         Assignment           DocumentNo     Type   RCd Doc. Date     Net due dt Amt in loc.cur.
0602599628 UED    0602599628           1400105965     DZ     D01  02/05/2020   01/20/2020         $304.94
*0000159335       Return-shortdated    1400092957     DZ     M04  12/23/2019   12/23/2019      $1,440.20
0602587184 UED    0602587184           1400094235     DZ     D01  01/17/2020   12/25/2019      $1,241.78
0602587183 UED    0602587183           1400094235     DZ     D01  01/17/2020   12/25/2019         $620.89
0602589875 UED    0602589875           1400094537     DZ     D01  01/22/2020   01/08/2020         $620.89
0602592519 UED    0602592519           1400094613     DZ     D01  01/24/2020   12/30/2019         $620.89
0602592518 UED    0602592518           1400094613     DZ     D01  01/24/2020   12/30/2019      $7,952.19
0602592517 UED    0602592517           1400094613     DZ     D01  01/24/2020   12/30/2019      $1,241.78
0602592516 UED    0602592516           1400094613     DZ     D01  01/24/2020   12/30/2019         $620.89
0602592515 UED    0602592515           1400094613     DZ     D01  01/24/2020   12/30/2019         $724.37
0602592514 UED    0602592514           1400094613     DZ     D01  01/24/2020   12/30/2019         $413.93
0602568875 UED    0602568875           1400094613     DZ     D01  01/24/2020   12/31/2019         $441.45
0602568874 UED    0602568874           1400094613     DZ     D01  01/24/2020   12/31/2019         $303.27
0602568876 UED    0602568876           1400094613     DZ     D01  01/24/2020   12/31/2019          $72.39
0602596826 UED    0602596826           1400095258     DZ     D01  02/05/2020   01/20/2020      $1,241.78
0602596825 UED    0602596825           1400095258     DZ     D01  02/05/2020   01/20/2020      $1,862.67
0602596106 UED    0602596106           1400095258     DZ     D01  02/05/2020   01/20/2020         $931.34
0602587784 UED    0602587784           1400095258     DZ     D01  02/05/2020   01/20/2020         $561.62
0060646014        0060646014           830141400      RD     H02  02/27/2020   04/02/2020      $2,800.42
DSA RDC Q3 2019   DSA RDC Q3 2019 Se   830161295      RD     M13  12/02/2019   01/06/2020           $0.05
RMA5.39           RMA5.39              830163193      RD          03/04/2020   04/08/2020           $5.39
DSA RDC Q4 2019   DSA RDC Q4 2019 Se   830169521      RD          03/16/2020   04/20/2020           $2.17
RMA3.62           RMA3.62              830174722      RD     C09 02/06/2020    03/12/2020           $1.05
RMA3.62           RMA3.62              830174723      RD     C09 02/06/2020    03/12/2020           $2.57
6450141           0602596229           602596229      RV          12/26/2019   01/30/2020     $13,946.34
6450141           0602596230           602596230      RV          12/26/2019   01/30/2020     $33,842.15
6435819           0602600971           602600971      RV          12/17/2019   01/21/2020      $9,297.56
6486636           0602601206           602601206      RV          01/10/2020   02/14/2020     $10,846.90
6486633           0602601207           602601207      RV          01/10/2020   02/14/2020     $12,511.19
6491513           0602609700           602609700      RV          01/14/2020   02/18/2020      $1,664.27
6497151           0602611252           602611252      RV          01/17/2020   02/21/2020      $3,328.54
6491512           0602570483           602570483      RV          01/15/2020   02/19/2020     $32,071.92
6491515           0602570484           602570484      RV          01/15/2020   02/19/2020     $11,380.21
6491512           0602570485           602570485      RV          01/15/2020   02/19/2020   $124,233.57
6497155           0602583863           602583863      RV          01/21/2020   02/25/2020         $197.60
6497156           0602583864           602583864      RV          01/21/2020   02/25/2020     $33,341.82
6450154           0602587086           602587086      RV          12/20/2019   01/24/2020      $1,116.06
6466554           0602587298           602587298      RV          12/27/2019   01/31/2020      $2,098.56
6466560           0602587299           602587299      RV          12/27/2019   01/31/2020         $668.82
6466560           0602587300           602587300      RV          12/27/2019   01/31/2020         $668.64
6491516           0602591056           602591056      RV          01/14/2020   02/18/2020      $5,556.97
6491515           0602591057           602591057      RV          01/14/2020   02/18/2020      $7,160.80
6440864           0602595417           602595417      RV          12/18/2019   01/22/2020   $187,661.57
6440867           0602595418           602595418      RV          12/18/2019   01/22/2020      $4,680.15
6440864           0602595419           602595419      RV          12/18/2019   01/22/2020     $22,464.72
6450154           0602595950           602595950      RV          12/20/2019   01/24/2020      $7,488.24
6450154           0602595951           602595951      RV          12/20/2019   01/24/2020     $26,987.67


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                                          Abbvie US LLC
                      Rochester Drug Co-Operative, Inc. - Statement of Account
Reference       Assignment           DocumentNo     Type RCd Doc. Date       Net due dt Amt in loc.cur.
6458257         0602596135           602596135      RV        12/26/2019      01/30/2020    $14,477.68
6458255         0602596136           602596136      RV        12/26/2019      01/30/2020   $136,518.33
6450140         0602596137           602596137      RV        12/26/2019      01/30/2020   $263,096.22
6450140         0602596138           602596138      RV        12/26/2019      01/30/2020    $22,464.72
6440867         0602596847           602596847      RV        12/17/2019      01/21/2020     $2,488.00
6440868         0602598430           602598430      RV        12/18/2019      01/22/2020    $31,044.54
6440865         0602598431           602598431      RV        12/18/2019      01/22/2020    $62,089.08
6440868         0602598432           602598432      RV        12/18/2019      01/22/2020    $62,089.08
6458257         0602600654           602600654      RV        12/26/2019      01/30/2020     $5,616.18
6497150         0602601161           602601161      RV        01/17/2020      02/21/2020    $32,988.02
6497155         0602601162           602601162      RV        01/17/2020      02/21/2020     $9,639.87
6497150         0602601163           602601163      RV        01/17/2020      02/21/2020    $16,901.21
6497155         0602601164           602601164      RV        01/17/2020      02/21/2020    $22,057.81
6486635         0602601778           602601778      RV        01/10/2020      02/14/2020    $22,324.41
6486635         0602601779           602601779      RV        01/10/2020      02/14/2020        $296.40
6486635         0602601780           602601780      RV        01/10/2020      02/14/2020    $25,178.61
6497152         0602605147           602605147      RV        01/21/2020      02/25/2020    $33,341.82
6497152         0602605148           602605148      RV        01/21/2020      02/25/2020    $11,113.96
6486634         0602606473           602606473      RV        01/13/2020      02/17/2020    $33,341.82
6486637         0602606474           602606474      RV        01/13/2020      02/17/2020    $33,341.82
6486634         0602606475           602606475      RV        01/13/2020      02/17/2020    $16,670.93
6486634         0602606476           602606476      RV        01/13/2020      02/17/2020    $66,683.64
6486637         0602606477           602606477      RV        01/13/2020      02/17/2020    $33,341.82
6486637         0602606478           602606478      RV        01/13/2020      02/17/2020     $5,556.97
                830171660            830171660                04/06/2020      05/11/2020          $2.83
                830168972            830168972                05/06/2020      06/10/2020          $0.35
                830175824            830175824                06/04/2020      07/09/2020         $17.63
                830169040            830169040                07/07/2020      08/11/2020         $41.79
                                                                             Total:      $1,539,906.13




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                                              Abbvie US LLC
              Rochester Drug Co-Operative, Inc. - Statement of Account - Credit Memo/Rebate
Reference          Assignment            DocumentNo      Type RCd   Doc. Date    Net due dt Amt in loc.cur.
RMA108.47          RMA108.47             801003850       RC C09     02/06/2020   02/06/2020      ($108.47)
RMA221.53          RMA221.53             801003851       RC C09     02/06/2020   02/06/2020      ($221.53)
DSA RDC Q3 2019    DSA RDC Q3 2019 Se    801023079       RC M13     12/02/2019   12/02/2019      ($629.63)
RMA511.90          RMA511.90             801024817       RC C09     12/05/2019   12/05/2019      ($511.90)
RMA940.26          RMA940.26             801033392       RC C09     01/08/2020   01/08/2020      ($940.26)
DSA RDC Q4 2019    DSA RDC Q4 2019 Se    801042891       RC         03/16/2020   03/16/2020      ($197.13)
BSH0819            BSH0819               800998764       RC R04     01/06/2020   01/06/2020      ($100.18)
RMA3961.47         RMA3961.47            801003057       RC C09     11/06/2019   11/06/2019   ($3,961.47)
RMA3739.09         RMA3739.09            801004283       RC C09     12/05/2019   12/05/2019   ($3,739.09)
RMA11302.32        RMA11302.32           801004284       RC C09     12/05/2019   12/05/2019 ($11,302.32)
DSA RDC Q3 2019    DSA RDC Q3 2019 Se    801008990       RC M13     12/02/2019   12/02/2019 ($114,356.81)
RMA4544.69         RMA4544.69            801019862       RC C09     01/08/2020   01/08/2020   ($4,544.69)
RMA15131.39        RMA15131.39           801019863       RC C09     01/08/2020   01/08/2020 ($15,131.39)
EK5231608661       EK5231608661          801030903       RC R01     01/07/2020   01/07/2020       ($55.63)
EK8031108661       EK8031108661          801030904       RC R01     01/07/2020   01/07/2020       ($16.29)
0602580345         6435822               801031298       RC H02     01/24/2020   01/24/2020      ($257.17)
0060638658         0060638658            801033827       RC H02     01/09/2020   01/09/2020   ($2,787.83)
EXPNCR1019145655   EXPNCR1019145655      801034313       RC R01     01/10/2020   01/10/2020       ($33.20)
EXPNCR1019145656   EXPNCR1019145656      801034314       RC R01     01/10/2020   01/10/2020      ($200.48)
EXPNCR1019145657   EXPNCR1019145657      801034315       RC R01     01/10/2020   01/10/2020      ($100.31)
RK1K90608661       RK1K90608661          801035991       RC R01     01/17/2020   01/17/2020       ($12.80)
VLY1119            VLY1119               801037263       RC R01     02/17/2020   02/17/2020       ($68.93)
NS042319A0719-11   NS042319A0719-1141    801038393       RC R01     01/28/2020   01/28/2020       ($38.63)
0060641747         0060641747            801040013       RC H02     01/30/2020   01/30/2020   ($2,995.64)
0060641746         0060641746            801040014       RC H02     01/30/2020   01/30/2020      ($885.20)
0060641919         0060641919            801040131       RC H02     01/30/2020   01/30/2020       ($67.00)
RMA1934.45         RMA1934.45            801040464       RC C09     02/06/2020   02/06/2020       ($19.49)
RMA1934.45         RMA1934.45            801040465       RC C09     02/06/2020   02/06/2020   ($1,636.45)
RMA1934.45         RMA1934.45            801040466       RC C09     02/06/2020   02/06/2020      ($278.51)
RMA3062.01         RMA3062.01            801040467       RC C09     02/06/2020   02/06/2020   ($3,062.01)
RDCS209606         RDCS209606            801042327       RC R01     02/04/2020   02/04/2020      ($469.75)
0060642847         0060642847            801043177       RC H02     02/06/2020   02/06/2020      ($240.05)
0060643032         0060643032            801043249       RC H02     02/06/2020   02/06/2020   ($2,881.96)
0060643849         0060643849            801045486       RC H02     02/13/2020   02/13/2020      ($442.60)
0060644021         0060644021            801045613       RC H02     02/13/2020   02/13/2020   ($1,460.94)
0060644023         0060644023            801045614       RC H02     02/13/2020   02/13/2020   ($5,556.95)
DSA RDC Q4 2019    DSA RDC Q4 2019 Se    801048618       RC         03/16/2020   03/16/2020 ($48,529.86)
0060645849         0060645849            801049534       RC H02     02/27/2020   02/27/2020   ($1,076.32)
0060646015         0060646015            801049725       RC H02     02/27/2020   02/27/2020   ($2,800.42)
                                         801034486                  03/22/2020   03/02/2020      ($150.90)
                                         801059802                  03/26/2020   03/26/2020   ($4,979.00)
                                         801045146                  03/27/2020   03/27/2020      ($131.98)
                                         801062535                  04/27/2020   04/27/2020       ($35.04)
                                         801073943                  05/01/2020   05/01/2020      ($140.10)
                                         801070804                  05/07/2020   05/07/2020       ($34.99)
                                         801078917                  05/11/2020   05/11/2020      ($148.51)
                                         801078918                  05/11/2020   05/11/2020         ($1.28)
                                         801079046                  05/14/2020   05/14/2020       ($48.96)

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                          Description: Exhibit A, Page 8 of 9
                                             Abbvie US LLC
             Rochester Drug Co-Operative, Inc. - Statement of Account - Credit Memo/Rebate
Reference        Assignment             DocumentNo      Type RCd Doc. Date      Net due dt Amt in loc.cur.
                                        801083202                05/26/2020      05/26/2020   ($1,440.20)
                                        801079946                06/01/2020      06/01/2020   ($2,880.40)
                                        801084151                06/01/2020      06/01/2020   ($1,298.51)
                                        801075765                06/26/2020      06/26/2020     ($160.70)
                                        801090290                07/15/2020      07/15/2020     ($102.91)
                                        801070939                07/21/2020      07/21/2020      ($26.94)
                                                                                Total:      ($243,299.71)




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                          Description: Exhibit A, Page 9 of 9
